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             UNITED STATES DISTRICT COURT
            FOR THE DISTRICT OF MINNESOTA

United States of America,

              v.                                 CRIMINAL TRIAL NOTICE

                                                 Case Number Crim. 12-295 PAM/AJB
Eric Wade Forcier and
Julie Ann Campana,



       (x) TAKE NOTICE That a proceeding in this case has been set for the place, date
and time set forth below:

                               Courtroom #7D (7th Floor)
                                316 North Robert Street
                               St. Paul, Minnesota 55101

Before the Honorable Paul A. Magnuson on Monday, April 8, 2013 @ 9:00 A.M.
for criminal trial.

Propose voir dire, jury instructions, motions in limine, trial briefs, witness and exhibit
lists are due by 4:30 p.m. on Monday, April 1, 2013. The trial briefs are to be filed on
CM/ECF and submit two hard copies of all materials directly to Judge Magnuson’s
chambers and one copy to Judge Magnuson’s e-mail box
(magnuson_chambers@mnd.uscourt.gov). The trial materials should be submitted in
Word Perfect format. Use of this e-mail box does not constitute filing with CM/ECF, nor
is it a replacement for filing. COUNSEL MUST PREMARK ALL EXHIBITS.


                                                 RICHARD SLETTEN, CLERK
Dated: February 21, 2013
                                                  s/Suzanne M. Ruiz
                                                 Suzanne M. Ruiz, Calendar Clerk

cc:    Allen Slaughter - A.U.S.A.
       Amber M. Brennan - A.U.S.A.
       Kyle D. White
       Andrew H. Mohring
       U.S. Marshal
       U.S. Probation
       U.S. Pretrial Services
